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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

RHIANNON LUCK, AND ALL OTHERS                    §
SIMILARLY SITUATED UNDER                         §
29 USC 216(B),                                   §
                                                 §
       Plaintiff,                                §
                                                 §      CIVIL ACTION NO. 5:16-CV-00295-XR
v.                                               §
                                                 §
SUPERIOR HEALTHPLAN, INC., &                     §
CENTENE COMPANY OF TEXAS, L.P.,                  §
                                                 §
       Defendants.
                                                 §

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure Rule 41(a)(1)(A)(ii), Defendants

Superior Healthplan, Inc. and Centene Company of Texas, L.P., by and through their

attorneys, and Plaintiff, Rhiannon Luck (“Plaintiff”), by and through her attorneys,

hereby file this Joint Stipulation of Dismissal With Prejudice.

       1.      On March 23, 2016, Plaintiff filed this cause of action. [Doc. No. 1].

       2.      On May 31, 2016, this Court granted the parties’ Joint Motion to Stay

Proceedings pending settlement discussions. [Doc. No. 23].

       3.      On October 7, 2016, this Court entered an order for the parties to submit a

stipulation of dismissal or an agreed judgment and any supporting documents by

November 7, 2016. [Doc. No. 27].

       4.      Accordingly, the parties stipulate that they have reached an out-of-court

settlement and this action shall be dismissed, with prejudice, with each party to bear its

own costs of this action and its own attorneys’ fees.




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          6.   The parties have attached a Proposed Order of Dismissal with Prejudice

hereto.


Respectfully submitted,



/s/ Jay Forester (w/permission)                /s/ Saba H. Alvi
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ATTORNEYS FOR PLAINTIFF




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 7th day of November, 2016, I electronically filed the
foregoing document with the Clerk of Court for the U.S. District Court, Western District
of Texas, San Antonio Division, using the electronic case filing system of the court.
Participants in the case who are registered CM/ECF users will be served by the CM/ECF
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                                              /s/ Saba H. Alvi
                                              Kimberly R. Miers
                                              Saba H. Alvi

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